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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

 PALTALK HOLDINGS, INC.,

            Plaintiff,
 v.                                                      CIVIL ACTION NO. 6:21-CV-00757-ADA
 CISCO SYSTEMS, INC.,

                    Defendant.


                                                         JURY TRIAL DEMANDED

                                 AMENDED SCHEDULING ORDER

        Paltalk Holdings, Inc. and Cisco Systems, Inc. have agreed to a revised scheduling order.

Pursuant to Rule 16, Federal Rules of Civil Procedure, the Court ORDERS that the following

revised schedule will govern deadlines up to and including the trial of this matter:

       Date            Event
    05/18/2023         Serve objections to rebuttal disclosures and file motions in limine.

    05/22/2023         Parties email the Court’s law clerk to confirm pretrial and trial dates.
    05/25/2023         File Joint Pretrial Order and Pretrial Submissions (jury instructions, exhibits
                       lists, witness lists, discovery and deposition designations); file oppositions
                       to motions in limine.

    06/13/2023         File Notice of Request for Daily Transcript or Real Time Reporting. If a
                       daily transcript or real time reporting of court proceedings is requested for
                       trial, the party or parties making said request shall file a notice with the Court
                       and e-mail the Court Reporter, Kristie Davis at kmdaviscsr@yahoo.com

                       Deadline to meet and confer regarding remaining objections and disputes on
                       motions in limine.

  3 business days      File joint notice identifying remaining objections to pretrial disclosures and
    before Final       disputes on motions in limine.
      Pretrial
    Conference
    06/26/2023         Final Pretrial Conference (subject to the Court’s calendar)
    07/17/2023         Jury Selection / Trial


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        SIGNED this             day of                                 , 2023.




                                         ALAN D. ALBRIGHT
                                         UNITED STATES DISTRICT JUDGE


Dated: March 1, 2023                     Respectfully submitted,


                                         By: /s/ Max L. Tribble, Jr.
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                                            PALTALK HOLDINGS, INC.




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                               CERTIFICATE OF SERVICE

        This document has been served on counsel of record in accordance with the Federal Rules

of Civil Procedure.



                                                   /s/ Max L. Tribble, Jr.
                                                   Max L. Tribble, Jr.




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